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                 Exhibit 3
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092920439-FLT                                                                                          September 29, 2017
David Mack
7720 McCallum Bl d Apt 2099
Dallas TX 75252-7525




Dear David Mack:


We have received your request for a copy of your Equifax credit report and are looking forward to assisting you.

At this time our records indicate that you are not eligible for a free copy of your credit file. The standard charge for a
disclosure is $11.50. This price may vary based on your state fee. If you have a major credit card, you may use our
automated ordering system at 1 -800-685-1111.
You are entitled to a free copy of your credit report if: you have ever been denied credit, insurance, change in credit
limit, or other credit-based benefit within the last 60 days; you ha e recently placed an initial 90-day fraud alert on the
file (one free); you have recently placed an extended seven-year alert (two free within 12 months).

You may be entitled to additional free credit files based on other federal legislation. To check your eligibility, visit
www.annualcreditreport.com.

Several states have passed laws entitling the residents to receive free copies of their credit file in addition to the
Annual Free copy which is requested through the Central Source as well as through Equifax. A reasonable
processing fee (currently $11.50) may be charged, with the exception of the following states which have mandated
adjustable fees.

Note: If an individual states law varies but does not conflict with the federal law (FCRA), then the state law prevails.
 State               First Copy                   Per Additional Copy (within one calendar year)

 California          $8.00*                       $8.00
 Colorado            Free                         $8.00
 Connecticut         $5.00*                       $7.50 for each additional report within 12 months
 Georgia             Free (2 per calendar year)   $11.50
 Maine               Free                         $5.00 for each additional report within 12 months
 Maryland            Free                         $5.00
 Massachusetts       Free                         $8.00
 Minnesota           $3.00*                       $11.50 for each additional report within 12 months
 Montana             $8.50*                       $8.50
 New Jersey          Free                         $8.00
 Puerto Rico         Free                         $11.50
 US Virgin Islands   $1.00*                       $1.00
 Vermont             Free                         $7.50 for each additional report within 12 months
 All Other States    $11.50*                      $11.50
 Unemploye           Free**                       1 within 12 months, fee as per state thereafter
 Welfare             Free**                       1 within 12 months, fee as per state thereafter

You are entitled to one free credit file during any 12-month period regardless of your state of residence if you are:

    - Unemployed and intend to apply for employment in the next 60 days.
    - Receiving public welfare assistance

Please return this letter along with the requested information and your original correspondence/request to the address
below.

    Equifax Information Ser ices LLC
    PO BOX 105167
    Atlanta, GA 30348-5167
Thank you for the opportunity to assist you.

Equifax Information Services LLC




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